
134 Ind. App. 428 (1963)
189 N.E.2d 109
METROPOLITAN BOARD OF ZONING APPEALS OF MARION COUNTY ET AL.
v.
WEISFELD ET AL.
No. 19,675.
Court of Appeals of Indiana.
Filed April 4, 1963.
William B. Patrick, Joan R. Caldwell and Richard E. Clark, all of Indianapolis, for appellants.
Miller &amp; Miller and William B. Miller, of Indianapolis, for appellee Joseph J. Weisfeld.
Thomas Clay Collier, pro se.
Joseph M. Shannon, pro se.
RYAN, J.
This was an action for a certiorari to review a decision of the Metropolitan Board of Zoning Appeals of Marion County, Indiana.
The Appellees have failed to file a brief in support of the court's judgment. The general rule is that where no brief has been filed by the appellee the judgment may be reversed if the appellant's brief presents a prima facie case of error. This rule was established for the protection of the court so that we might be relieved of the burden of controverting the arguments and contentions advanced for a reversal *429 where such burden properly rests upon the appellee. Sunn v. Martin (1959), 130 Ind. App. 29, 161 N.E.2d 487.
Upon examination of the appellants' brief, it does in our opinion make a prima facie showing of reversible error.
The judgment is therefore reversed.
Cooper, C.J., and Carson and Clements, JJ., concur.
NOTE.  Reported in 189 N.E.2d 109.
